               Case 3:02-cv-00339-MO       Document 418               Filed 07/07/23   Page 1 of 7



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                              IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

     DISABILITY RIGHTS OREGON,                             Case No. 3:02-cv-00339-MO (Lead Case)
     METROPOLITAN PUBLIC DEFENDER                          Case No. 3:21-cv-01637-MO (Member Case)
     SERVICES, INC., and A.J. MADISON,                     Case No. 6:22-cv-01460-MO (Member Case)

                      Plaintiffs,                          DEFENDANTS’ RESPONSE IN
                                                           OPPOSITION TO MOTION FOR
                                                           RECONSIDERATION
              v.

     DAVID BADEN, in his official capacity as
     head of the Oregon Health Authority, and
     DOLORES MATTEUCCI, in her official
     capacity as Superintendent of the Oregon State
     Hospital,

                      Defendants.

     JAROD BOWMAN, JOSHAWN DOUGLAS-                        Case No. 3:21-cv-01637-MO
     SIMPSON,

                      Plaintiffs,

              v.

     DOLORES MATTEUCCI, Superintendent of
     the Oregon State Hospital, in her individual
     and official capacity, David Baden, Director of
     the Oregon Health Authority, in his official

Page 1 -   DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
           RECONSIDERATION
           CAS/a3m/32142872                        Department of Justice
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                                                    Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000
               Case 3:02-cv-00339-MO         Document 418               Filed 07/07/23   Page 2 of 7



     capacity, and PATRICK ALLEN in his
     individual capacity,

                      Defendants,

     LEGACY EMANUEL HOSPITAL &                            Case No. 6:22-CV-01460-MO (Member Case)
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH; LEGACY
     HEALTH SYSTEM; PEACEHEALTH; and
     PROVIDENCE HEALTH & SERVICES
     OREGON,

                      Plaintiffs,
              v.

     DAVID BADEN, in his official capacity as
     Director of Oregon Health Authority,

                      Defendant.

     I.       INTRODUCTION

              Plaintiffs’ motion for reconsideration should be denied because it points to no facts or

     law not already considered and rejected by this Court in dismissing their complaint.

     Moreover, the proposed amendments would not cure the legal defect with their Article III

     standing. Defendant Oregon Health Authority (OHA), however, would not object to

     changing the phrasing of the dismissal to “dismissed without leave to amend” instead of

     “with prejudice” to comport with the Ninth Circuit’s jurisprudence regarding the legal effect

     of a dismissal for lack of subject matter jurisdiction. See Barke v. Banks, 25 F.4th 714, 721

     (9th Cir. 2022).

              Also, notably, Plaintiffs (“Health Systems”) do not seek reconsideration of this

     Court’s alternative and independent basis to dismiss for lack of standing their claims alleged

     on behalf of civilly committed patients—namely, that they fail to establish the “close

     relation” requirement for third-party standing. Those claims (claims One, Five, Six, and

     Seven) should therefore remain dismissed without leave to amend, regardless of how the

     Court rules on the motion for reconsideration.



Page 2 -   DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
           RECONSIDERATION
           CAS/a3m/32142872                          Department of Justice
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                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:02-cv-00339-MO         Document 418               Filed 07/07/23   Page 3 of 7




     II.      ARGUMENT

              A.      A motion for reconsideration is an extraordinary remedy.

              A motion for reconsideration is an “extraordinary remedy” that should be “used

     sparingly” to conserve judicial resources. Kona Enterprises, Inc. v. Est. of Bishop, 229 F.3d

     877, 890 (9th Cir. 2000). “Reconsideration is appropriate only if the district court (1) is

     presented with newly discovered evidence, (2) committed clear error or the initial decision

     was manifestly unjust, or (3) if there is an intervening change in controlling law.” Sch. Dist.

     No. 1J, Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). A motion
     for reconsideration is not an appropriate vehicle for “rehashing arguments the court has

     already rejected.” Dare v. Aegis Wholesale Corp., No. 15-CV-2833-JAH (BLM), 2019 WL

     7020110, at *2 (S.D. Cal. Dec. 20, 2019). As explained below, that is just what Health

     Systems’ motion asks this Court to do.

              B.      A complaint may be dismissed for lack of Article III standing without
                      leave to amend where, as a here, a legal defect cannot be cured.
              A claim must be dismissed to the extent a plaintiff lacks Article III standing to pursue

     the relief sought. See Fleck & Assocs., Inc. v. Phoenix, City of, an Arizona Mun. Corp., 471

     F.3d 1100, 1102 (9th Cir. 2006). To have Article III standing, a plaintiff must adequately

     establish: (1) an injury in fact, (2) causation, and (3) redressability. Sprint Commc’ns Co.,

     L.P. v. APCC Servs., Inc., 554 U.S. 269, 273–74 (2008). A plaintiff must demonstrate

     standing for each claim and for each form of relief sought. Washington Envtl. Council v.

     Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013). To demonstrate redressability, a plaintiff must

     show that they “personally would benefit in a tangible way from the court’s intervention.”

     Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 134 (1998) (citing Warth v. Seldin, 422

     U.S. 490, 508 (1975)). Any “remedy must of course be limited to the inadequacy that

     produced the injury in fact that the plaintiff has established.” Lewis v. Casey, 518 U.S. 343,

     357 (1996).


Page 3 -   DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
           RECONSIDERATION
           CAS/a3m/32142872                          Department of Justice
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                                                      Portland, OR 97201
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              Case 3:02-cv-00339-MO         Document 418               Filed 07/07/23   Page 4 of 7




             A court may dismiss a complaint for lack of standing without leave to amend where

     the court determines that any future amendments to the complaint would be futile and would

     fail to meet the necessary Article III standing requirements. Lipton v. Pathogenesis Corp.,

     284 F.3d 1027, 1039 (9th Cir. 2002). If, based on the facts as alleged by the plaintiff, the

     court deems it impossible for the claim to successfully meet standing requirements, it is in

     the interest of judicial efficiency to not prolong litigation through amendment. Id.

             C.     Health Systems cannot establish standing to bring any of their claims.
             This Court correctly ruled that “Health Systems’ alleged injury—being required to
     provide long-term care for civilly committed patients— is not traceable to OHA, because

     Health Systems could choose to not participate in the application process to treat such

     patients. Their voluntary participation in the very conduct that causes their injury causes

     their claims to fail the traceability requirement. Health Systems therefore do not have

     standing to bring their claims and they must be dismissed under Rule 12(b)(1).”1

             Health Systems have not established that they can cure this defect with new facts or

     law not already considered and rejected by this Court. In arguing that they could establish

     standing, Health Systems point to the process by which civilly committed persons are

     received in their facilities via emergency rooms, which they contend would occur even if

     they had not voluntarily applied for certification to treat civilly committed patients. But the

     Court already carefully considered that process and its effects on Health Systems in

     dismissing their complaint. See 4/25/23 Tr. at pp. 17-39 (ECF No. 166).

             Moreover, in asking the Court for leave to amend, Plaintiffs rely on only alternate

     facts in a conjectural and hypothetical universe—one in which they did not apply for and

     obtain certifications to treat civilly committed patients. In doing so, they rely on two cases


     1
      In addition to having agreed to admit and treat civilly committed patients as described in the
     Opinion and Order dismissing the complaint, Plaintiffs recently consented to the portion of
     this Court’s order limiting admissions to OSH of civilly committed patients except pursuant
     to an expedited admissions policy. See ECF No. 380.
Page 4 - DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
          RECONSIDERATION
         CAS/a3m/32142872                           Department of Justice
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                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
             Case 3:02-cv-00339-MO           Document 418               Filed 07/07/23   Page 5 of 7




     for the proposition that a plaintiff’s voluntary action does not preclude standing if it “‘would

     remain worse off’ by pursuing alternate courses of action.” Neither case supports Health

     Systems’ arguments that repleading would enable to them to cure the legal defect with their

     standing.

            In Jackson v. California Dep't of Mental Health, 399 F.3d 1069, 1074 (9th Cir.), the

     Ninth Circuit acknowledged that the alleged injury may be traceable to the defendant if the

     plaintiff, who had voluntarily recommitted himself as a violent sexual predator, had no real

     choice but to do so because the state would have otherwise recommitted him:

            It is possible that [the plaintiff] committed himself because the state would
            otherwise have asked a court to recommit him involuntarily. If he stood little
            chance of defeating such a request, but would incur some hardship in trying,
            perhaps we would be willing to say that his decision to voluntarily recommit
            himself was traceable to the state court’s initial decision to confine him.
            However, that is not the only possible explanation for [plaintiff’s] decision to
            recommit himself, and it is not our duty to hypothesize circumstances under
            which jurisdiction might have been proper.
     Here, in contrast, there are no allegations that OHA could have forced Health Systems to

     apply for certification to treat civilly committed patients had they not otherwise voluntarily

     done so. Instead, they seek declaratory relief based on a hypothetical alternate reality not

     before this Court (and not in existence), which as the court noted in Jackson, is insufficient to

     establish standing.

            In Skyline Wesleyan Church v. California Dep't of Managed Health Care, 968 F.3d

     738, 748–49 (9th Cir. 2020), the Ninth Circuit found a direct link between the alleged

     unlawful conduct (a state-run group insurance policy requiring coverage for abortion) and the

     plaintiff’s injury (having to pay for insurance covering abortions) as other insurance options

     were worse for various reasons. As a result, the Ninth Circuit found a direct chain of

     causation; in doing so, the court made clear that to establish redressability, a plaintiff must

     show that “it is likely, as opposed to merely speculative, that its injury will be redressed by a

     favorable decision.” Id. Health Systems’ situation is not at all like the plaintiff’s in Skyline.

     Again, they ask this Court to speculate about and redress what injury they might have
Page 5 - DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
         RECONSIDERATION
         CAS/a3m/32142872                            Department of Justice
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                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:02-cv-00339-MO           Document 418              Filed 07/07/23   Page 6 of 7




     incurred if they had not chosen to voluntarily apply for certification to treat civilly committed

     people. In any event, as noted above, this Court already considered that hypothetical harm

     during the hearing on the motion to dismiss and rejected it as a basis to confer standing.

              In short, Health Systems provide this Court with no concrete injury that is not

     hypothetical or conjectural on which to conclude they have any injury-in-fact which this

     Court could redress by a favorable decision. This defect is fatal to Plaintiffs’ Article III

     standing. The proposed amendments would be futile and leave to amend should be denied.

              D.      Plaintiffs do not seek reconsideration of this Court’s alternative basis for
                      concluding that they lack standing for the claims they brought on behalf
                      of civilly committed patients.
              This Court alternatively based its dismissal of the claims Plaintiffs brought on behalf

     of civilly committed patients on the ground that they failed to establish the “close relation”

     requirement for third-party standing:

                      Relatedly, Health Systems do not have standing to bring claims on
              behalf of their civilly committed patients. The first step of the analysis to
              determine if there is third-party standing is for a litigant to have standing of its
              own. Since the Health Systems do not have standing of their own, they cannot
              bring claims on behalf of others.

                      But even if that were not the case, Health Systems would fail the
              “close relation” portion of the analysis. Health Systems claim in their briefing
              that they would like to treat more civilly committed patients. They also say
              they have a close relationship with these patients because their staff treat these
              patients. Yet Health Systems also complain about how much civilly
              committed patients are costing them and about the harms they inflict on their
              staff members. These arguments are not aligned. There may not be a full-
              fledged conflict between Health Systems' and civilly committed patients'
              interests, but they are incongruous enough that Health Systems would not be
              "as an effective proponent" of civilly committed patients' rights as the patients
              would be for themselves.

                      Furthermore, one of the Plaintiffs in the Mink matter is Disability
              Rights Oregon (“DRO”), which is the federally designated protection and
              advocacy system for Oregon under the Protection and Advocacy for
              Individuals with Mental Illness (“PAIMI”) Act. See 42 U.S.C. 10805(a)
              (noting establishment to "protect and advocate the rights of individuals with
              mental illness"). If any party in this proceeding should be able to speak on
              behalf of civilly committed patients, DRO would likely be the one to do so.
     Op. & Order (ECF No. 395, p. 7) (emphasis added).

Page 6 -   DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
           RECONSIDERATION
           CAS/a3m/32142872                           Department of Justice
                                                     100 SW Market Street
                                                       Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000
                Case 3:02-cv-00339-MO         Document 418              Filed 07/07/23   Page 7 of 7




               Plaintiffs’ motion for reconsideration does not mention much less take issue with this

     alternative basis to dismiss the claims brough on behalf of civilly committed patients.

     Accordingly, in addition to the reasons set forth above, the claims alleged on behalf of civilly

     committed patients (claims One, Five, Six, and Seven) should remain dismissed with no

     leave to amend.

     III.      CONCLUSION

               For the reasons set forth above, OHA respectfully asks this Court to deny Health

     Systems’ motion for reconsideration.
               DATED July 7 , 2023.

                                                           Respectfully submitted,

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Page 7 -    DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION FOR
            RECONSIDERATION
            CAS/a3m/32142872                         Department of Justice
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